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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  4:08-MJ-06007-WRW

JORGE MARTINEZ


                                           ORDER

       On March 21, 2008, United States Magistrate Judge Beth Deere entered an order setting

Defendant’s conditions of release. The Prosecution filed a Motion for Immediate Stay of

Release and Revocation of the Magistrate’s Order of Release (Doc. No. 5).

       Based on the findings of facts and conclusions of law made in the hearing held today, the

Prosecution’s Motion for Immediate Stay of Release and Revocation of the Magistrate’s Order

of Release is DENIED, and the conditions of release order (Doc. No. 6) is AFFIRMED in toto.

       IT IS SO ORDERED this 21st day of March, 2008.


                                            /s/ Wm. R. Wilson, Jr._______
                                            UNITED STATES DISTRICT JUDGE




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